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                                                                       United States District Court
                                                                         Southern District of Texas

                                                                            ENTERED
                   IN THE UNITED STATES DISTRICT COURT                   February 28, 2017
                    FOR THE SOUTHERN DISTRICT OF TEXAS                   David J. Bradley, Clerk
                             HOUSTON DIVISION

TWIN CITY FIRE INSURANCE CO.,             §
                                          §
      Plaintiff,                          §
                                          §
v.                                        §          CIVIL ACTION NO. H-16-666
                                          §
OCEANEERING INTERNATIONAL,                §
INC., et al.,                             §
                                          §
      Defendants.                         §

                      MEMORANDUM AND RECOMMENDATION

      Pending    before   the    court1       are   Plaintiff   Twin   City     Fire

Insurance Company’s Motion for Summary Judgment (Doc. 24) and

Defendants’ Motion for Judgment on the Pleadings (Doc. 26).                       The

court has considered the motions, the responses, the replies, all

other briefs and relevant filings, and the applicable law. For the

reasons set forth below, the court RECOMMENDS that Plaintiff’s

motion be GRANTED and Defendants’ motion be DENIED.

                            I.   Case Background

      Plaintiff filed this insurance action against Oceaneering

International Inc. (“Oceaneering”) and certain of its current and

former directors, seeking a declaratory judgment that Plaintiff

does not owe Oceaneering indemnity coverage under a directors and

officers (“D&O”) defense policy issued by Plaintiff with respect to

a derivative lawsuit filed against Oceaneering and its directors.


      1
            This case was referred to the undersigned magistrate judge pursuant
to 28 U.S.C. § 636(b)(1)(A) and (B), the Cost and Delay Reduction Plan under the
Civil Justice Reform Act, and Federal Rule of Civil Procedure 72. See Doc. 10,
Ord. Dated Apr. 1, 2016.
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A.   The Insurance Policy

      Oceaneering purchased the D&O Premier Defense Policy (the

“Policy”) from Plaintiff to cover the period August 1, 2013, to

August 1, 2014.2       Oceaneering was the insured entity under the

Policy, but the Policy also covered, among others, directors and

officers as insured persons.3        The limit of liability on the Policy

was $10,000,000 subject to a self-insured retention that varied

according to which of four insuring agreements covered the claim.4

Although the Policy did not obligate Plaintiff to defend any

insured, it did obligate Plaintiff to reimburse defense costs,

which then applied to reduce the available limit of liability.5

      The first two listed insuring agreements provided (as amended

by endorsement):

      (A)   NON-INDEMNIFIABLE DIRECTORS’ AND OFFICERS’ LIABILITY

            (1)   Except for Loss which the Insurer pays
                  pursuant to Insuring Agreement (B) of this
                  Policy, the Insurer will pay Loss on behalf of
                  the Insured Persons which the Insured Persons
                  have become legally obligated to pay as a
                  result of a Claim first made during the Policy
                  Period . . . against the Insured Persons for a
                  Wrongful Act which takes place during or prior
                  to the Policy Period.


      2
            See Doc. 24-2, Ex. A-1 to Pl.’s Mot. for Summ. J., The Hartford D&O
Premier Defense Policy p. 8. For this exhibit, the court cites to the docket
page number rather than the internal document page number.
      3
            See id. pp. 8, 16, 36.
      4
            See id. p. 8.
      5
            See id.

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. . . .

       (B)     INDEMNIFIABLE DIRECTORS’ AND OFFICERS’ LIABILITY

               (1)   The Insurer will pay Loss on behalf of the
                     Entity for which the Entity has, to the extent
                     permitted or required, indemnified the Insured
                     Persons, and which the Insured Persons have
                     become legally obligated to pay as a result of
                     a Claim first made during the Policy Period .
                     . . against the Insured Persons for a Wrongful
                     Act which takes place during or prior to the
                     Policy Period.6

       The Policy defined “loss” to mean damages, defense costs, and

investigation costs and defined “damages” in relevant part, as

amended by endorsement, to mean “amounts, other than Defense Costs,

Pre-Claim Inquiry Costs or Release Costs, which the Insured Persons

. . . are legally obligated to pay as a result of any Claim insured

by this Policy, including . . . settlements, judgments, and costs,

awarded pursuant to judgments, and appeals.”7                  The Policy stated

that       damages   “shall     not   include   .   .   .   amounts   for   matters

uninsurable pursuant to applicable law.”8

       Under the section for exclusions, the Policy stated (as

amended by endorsement) that Plaintiff would not pay damages:

       of an Insured, based upon, arising from, or in any way
       related to the gaining of any personal profit,
       remuneration or financial advantage to which such Insured
       is not legally entitled if any final and nonappealable
       adjudication other than an action or proceeding initiated

       6
               Id. pp. 36-37.
       7
               Id. p. 37.
       8
               Id.

                                          3
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      by the Insurer to determine coverage under the policy,
      establishes such gain . . . .9

B.   The Underlying Lawsuit (the “Derivative Action”)

      On June 17, 2014, Peter L. Jacobs (“Jacobs”), an Oceaneering10

shareholder, filed the Derivative Action in Delaware Chancery Court

on behalf of Oceaneering against its current directors and one

former director.11      The crux of the Derivative Action was that the

members of Oceaneering’s board, over the prior four years, had

“granted themselves total compensation in amounts that are grossly

excessive when compared to what typical directors in similar

positions have been paid for their services.”12           The complaint also

alleged    that   one   of     the   non-employee   directors    was   awarded

additional unfair compensation over a two-year period.                  Jacobs

asserted that Oceaneering and its stockholders had been harmed by

these payments.13

      The complaint alleged breach of fiduciary duty against all of



      9
            Id. pp. 19 , 43.
      10
            “Oceaneering, a Delaware corporation with its principal place of
business at 11911 Farm to Market Road 529 Houston, TX 77041, is an engineering
company which primarily provides services to the oil and gas industry.” Doc. 24-
2, Ex. A-3 to Pl.’s Mot. for Summ. J., Verified Stockholder Derivative Compl. in
Jacobs v. Huff, Case No. 9774-VCP, (Del. Ch. June 17, 2014) p. 5.
      11
            See id. p. 1.
      12
            See id. p. 2. All eight of the individuals who are defendants in the
Derivative Action are also named as defendants in the action pending here. See
Doc. 1, Orig. Compl. for Decl. Relief.
      13
            Doc. 24-2, Ex. A-3 to Pl.’s Mot. for Summ. J., Verified Stockholder
Derivative Compl. in Jacobs v. Huff, Case No. 9774-VCP, (Del. Ch. June 17, 2014)
p. 4.

                                        4
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the named board members and unjust enrichment against all of the

named board members except Oceaneering’s president/chief executive

officer.14     With regard to the unjust-enrichment claim, Jacobs

requested that the court order the seven non-employee directors “to

disgorge the proceeds obtained as a result of the excessive and

unfair transactions” described in the complaint.15 Under the prayer

for relief, Jacobs repeated the request for disgorgement and sought

damages for the alleged breaches of fiduciary duties.16

     On June 17, 2014, Oceaneering tendered the Derivative Action

to Plaintiff as a claim for coverage.17 On June 23, 2014, Plaintiff

confirmed receipt of the claim, expressly reserving all right

available under the Policy.18       On October 6, 2014, Plaintiff sent

Oceaneering a letter that provided a preliminary coverage analysis,

a consent to the retention of counsel with guidelines as to how

defense costs were to be handled, an advisement that no settlement

could be made without Plaintiff’s consent, and a full reservation

of rights.19



     14
             See id. pp. 28-29.
     15
             Id. p. 29.
     16
             See id. pp. 29-30.
     17
            See Doc. 24-2, Ex. A-2 to Pl.’s Mot. for Summ. J., Email from Lee
Snelgrove to HFP Claims Dated June 17, 2014.
      18
            See Doc. 24-2, Ex. A-4 to Pl.’s Mot. for Summ. J., Email from
Jennifer Jacobson to David Leung Dated June 23, 2014.
     19
            See Doc. 24-2, Ex. A-5 to Pl.’s Mot. for Summ. J., Letter from
Jennifer Jacobson to David Leung Dated Oct. 6, 2014.

                                     5
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      On September 25, 2015, Jacob’s attorney sent a settlement

demand email to counsel for the Derivative Action defendants that

set out the calculation of damages sought in the Derivative

Action.20      The calculation of damages indicated that the vast

majority of the demand was attributable to disgorgement of the

alleged excess compensation.21         On October 8, 2015, Oceaneering’s

insurance broker sent Plaintiff a summary of Jacob’s settlement

demand along with a counterproposal timeline.22               On January 29,

2016, the defendants in the Derivative Action responded with a

counterproposal.23      As of April 2016, the settlement negotiations

continued.24

      While settlement negotiations were ongoing, Plaintiff and

Oceaneering’s insurance broker exchanged correspondence concerning

their respective positions on coverage.25             Among other disputes,


      20
            See Doc. 28-1, Sealed Ex. B-1 to Pl.’s Mot. for Summ. J., Email from
Douglas E. Julie to David Sterling Dated Sept. 25, 2015.
      21
            See id.
      22
            See Doc. 28-1, Sealed Ex. B-2 to Pl.’s Mot. for Summ. J., Email from
Lindsey Roser to Jennifer Jacobson, et al., Dated Oct. 8, 2015.
      23
            See Doc. 28-1, Sealed Ex. B-3 to Pl.’s Mot. for Summ. J., Letter from
David Sterling to Douglas E. Julie Dated Jan. 29, 2016.
      24
            See Doc. 28-1, Sealed Ex. B-10 to Pl.’s Mot. for Summ. J., Email
Chain Between David Sterling & Nicholas Porritt Dated Apr. 1, 2016 & Apr. 11,
2016.
      25
            See Doc. 28-1, Sealed Ex. B-4 to Pl.’s Mot. for Summ. J., Email from
Jennifer Jacobson to Lindsey Roser Dated Nov. 10, 2015; Doc. 28-1, Sealed Ex. B-5
to Pl.’s Mot. for Summ. J., Email from Lindsey Roser to Jennifer Jacobson Dated
Dec. 2, 2015; Doc. 28-1, Sealed Ex. B-6 to Pl.’s Mot. for Summ. J., Email from
Jennifer Jacobson to Lindsey Roser Dated Dec. 31, 2015; Doc. 28-1, Sealed Ex. B-7
to Pl.’s Mot. for Summ. J., Email from Lindsey Roser to Jennifer Jacobson Dated
Jan. 14, 2016; Doc. 28-1, Sealed Ex. B-8 to Pl.’s Mot. for Summ. J., Email from

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Plaintiff consistently took the position that “damages” as defined

by the Policy did not include uninsurable amounts, and Oceaneering

consistently argued that the personal-profit exclusion meant that

settlements were covered.26

C.    The History of this Lawsuit

       Plaintiff       filed    this    action    on    March    14,   2016,    against

Defendants Oceaneering and six of its current and two of its former

directors.27       Plaintiff requested that the court enter declarations

stating that: (1) disgorgement and/or restitution damages are

uninsurable as a matter of law and are not covered by the Policy;

(2)    even       if   they    are    not   uninsurable,        disgorgement    and/or

restitution are not covered under the terms of the Policy; (3) the

Derivative Action plaintiff requested disgorgement or restitution

from    the       individual    defendants;       (4)    any    settlement     of    the

Derivative         Action      by     the   individual         defendants      involves

disgorgement and/or restitution; and (5) Plaintiff has no duty

under the Policy and/or applicable law to indemnify Oceaneering

and/or      the    individual        defendants   for    any     settlement     of   the

Derivative Action.28



Jennifer Jacobson to Lindsey Roser Dated Jan. 28, 2016; Doc. 28-1, Sealed Ex. B-9
to Pl.’s Mot. for Summ. J., Email from Jennifer Jacobson to Lindsey Roser Dated
Feb. 1, 2016.
       26
              See id.
       27
              See Doc. 1, Orig. Compl. for Decl. Relief pp. 1, 3-5.
       28
              Id. p. 13.

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      On April 7, 2016, Defendants answered, asserted multiple

defenses,     and      counterclaimed       for    declaratory    relief.29

Specifically,       Defendants    sought     declarations    that:   (1)     the

Derivative Action involves an insurable loss under the Policy to

which no exclusion applies; and (2) Defendants are entitled to

coverage, up to the full amount of the Policy’s limit of liability,

for any settlement in the Derivative Action.30              On May 4, 2016,

Plaintiff filed an answer to Defendants’ Counterclaim.31

      On   June   8,     2016,   Plaintiff   and    Defendants   filed     their

respective dispositive motions.32            The last-filed brief on the

motions was filed on December 5, 2016.33            The court now addresses

the pending motions.

D.   Court’s Approach to Pending Motions

      The parties agreed to file cross-motions on the issue of

“[w]hether a settlement in the [Derivative Action] of a claim

seeking disgorgement is recoverable under the Twin City policy (and

not prohibited under Texas public policy).”34           Plaintiff supported



      29
            See Doc. 16, Defs.’ Ans., Defenses, & Countercl. for Declaratory
Relief.
      30
            Id. p. 22.
      31
            See Doc. 20, Pl.’s Ans. to Defs.’ Countercl.
      32
            See Doc. 24, Pl.’s Mot. for Summ. J.; Doc. 26, Defs.’ Mot. for J. on
the Pleadings.
      33
            See Doc. 38, Defs.’ Reply in Support of Their Notice of Suppl. Auth.
      34
            See Doc. 19, Jt. Disc./Case Mgmt. Plan Under Fed. Rule Civ. Proc.
26(f) pp. 3-4.

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its summary judgment motion with evidence, including the Policy,

documents related to the filing and adjusting of the insurance

claim,       documents   related   to   settlement     discussions      in   the

Derivative Action, and Defendant Oceaneering’s April 2015 and April

2016 Schedule 14A Proxy Statements.35         Defendants submitted only an

appendix of unreported cases with their motion and, in connection

with their response to Plaintiff’s motion for summary judgment,

submitted only a motion brief filed in the Derivative Action and an

appendix of unreported cases.36         In the briefing that followed on

both        pending   motions,   neither    party   filed    any    previously

unsubmitted evidence.37

       The court finds no reason to consider cross-motions on the

same issue under separate review standards.            Moreover, the parties

submitted matters outside the pleadings for consideration and have

engaged in sufficient briefing to allow ample opportunity for

presenting all the outside material that they find pertinent to

resolution of the motions. Therefore, the court treats Defendants’

       35
            See Doc. 24-2, Ex. A to Pl.’s Mot. for Summ. J., Principal Decl. of
Anthony Fowler (“Fowler”) & Attached Exs., Ex. B to Pl.’s Mot. for Summ. J.,
Sealed Suppl. Decl. of Fowler & Attached Exs., Ex. C to Pl.’s Mot. for Summ. J.,
Decl. of James Sandnes & Attached Exs.
      36
            See Doc. 26-2 through Doc. 26-5, App’x to Defs.’ Mot. for J. on the
Pleadings; Doc. 30-1, Ex. A to Defs.’ Resp. in Opp. to Pl.’s Mot. for Summ. J.,
Brief in Support of Defs.’ Mot. to Dismiss Pl.’s Stockholder Derivative Compl.
in Jacobs v. Huff, Case No. 9774-VCP, (Del. Ch. Sept. 5, 2014); Doc. 30-2, App’x
to Defs.’ Resp. in Opp. to Pl.’s Mot. for Summ. J.
       37
            See Doc. 31, Reply in Support of Defs.’ Mot. for J. on the Pleadings;
Doc. 32, Pl.’s Reply Brief in Support of its Mot. for Summ. J.; Doc. 34, Notice
of Suppl. Auth. in Support of Defs.’ Mot. for J. on the Pleadings; Doc. 35-1,
Pl.’s Resp. to Defs.’ Notice of Suppl. Auth.; Doc. 38, Reply in Support of Defs.’
Notice of Suppl. Auth.

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motion for judgment on the pleadings as a motion for summary

judgment pursuant to Federal Rule of Civil Procedure 12(d).

                    II.   Summary Judgment Standard

     Summary judgment is warranted when the evidence reveals that

no genuine dispute exists on any material fact and the moving party

is entitled to judgment as a matter of law.        Fed. R. Civ. P. 56(a);

Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986); Stauffer v.

Gearhart, 741 F.3d 574, 581 (5th Cir. 2014).        A material fact is a

fact that is identified by applicable substantive law as critical

to the outcome of the suit.      Anderson v. Liberty Lobby, Inc., 477

U.S. 242, 248 (1986); Ameristar Jet Charter, Inc. v. Signal

Composites, Inc., 271 F.3d 624, 626 (5th Cir. 2001). To be genuine,

the dispute regarding a material fact must be supported by evidence

such that a reasonable jury could resolve the issue in favor of

either party.   See Royal v. CCC & R Tres Arboles, L.L.C., 736 F.3d

396, 400 (5th Cir. 2013)(quoting Anderson, 477 U.S. at 248).

     Cross-motions for summary judgment are considered separately

under this rubric. See Shaw Constructors v. ICF Kaiser Eng’rs, 395

F.3d 533, 538-39 (5th Cir. 2004).        Each movant must establish that

no genuine issue of material fact exists and that it is entitled to

judgment as a matter of law, and the court views the evidence in

favor of each nonmovant. See id.; Tidewater Inc. v. United States,

565 F.3d 299, 302 (5th Cir. 2009)(quoting Ford Motor Co. v. Tex.

Dep’t of Transp., 264 F.3d 493, 499 (5th Cir. 2001)).


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                                III. Analysis

       The parties to this case disagree on a number of issues.               The

court takes its own course through the analysis, addressing only

the arguments necessary to resolve the pending motions.

A.    Insurance Law

       Under Texas law,38 the insured generally bears the initial

burden of establishing that coverage is potentially provided by the

applicable insurance policy, while it is the insurer’s burden to

prove the applicability of an exclusion permitting it to deny

coverage. See SWE Homes, LP v. Wellington Ins. Co., 436 S.W.3d 86,

90 (Tex. App.—Houston [14th Dist.] 2014, no pet.).             If the insurer

is successful, the burden shifts back to the insured to prove that

an exception to the exclusion applies. Guar. Nat’l Ins. Co. v. Vic

Mfg. Co., 143 F.3d 192, 193 (5th Cir. 1998).

       An exclusion cannot grant coverage that does not otherwise

exist under a policy.       United Nat’l Ins. Co. v. Hydro Tank, Inc.,

497 F.3d 445, 451-52 (5th Cir. 2007)(amended in part on other

grounds in United Nat’l Ins. Co. v. Hydro Tank, Inc., 525 F.3d 400

(5th Cir. 2008))(applying Texas law).         Likewise, an exception to an


       38
            Texas law applies to this insurance dispute. See Doc. 1, Pl.’s Orig.
Compl. for Declaratory Relief p. 7 (stating that the policy was delivered to
Oceaneering in Texas and that Texas law applies); Doc. 16, Defs.’ Ans., Defenses,
& Countercl. for Declaratory Relief p. 5 (admitting that Plaintiff issued and
delivered the Policy in Texas). Pursuant to the Texas Insurance Code, “[a]ny
contract of insurance payable to any citizen or inhabitant of this State by any
insurance company or corporation doing business within this State shall be held
to be a contract made and entered into under and by virtue of the laws of this
State relating to insurance, and governed thereby . . . .” Tex. Ins. Code art.
21.42.

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exclusion does not have “the affirmative status of being covered by

the policy.”      Columbia Cas. Co. v. Ga. & Fla. RailNet, Inc., 542

F.3d 106, 112 (5th Cir. 2008)(applying Texas law).

       Insurance policies are subject to the rules of contract

interpretation.        State Farm Lloyds v. Page, 315 S.W.3d 525, 527

(Tex. 2010).      In construing the terms of a written contract, the

court’s primary goal is always “to determine the contracting

parties’ intent through the policy’s written language.”                       Id.     To

this end, the court reads all parts of the contract as a whole and

gives effect to each word, clause, and sentence so that no part of

the agreement is rendered inoperative.               Id.    Courts construe terms

in contracts to have their plain, ordinary meaning unless something

in the contract itself indicates that the parties intended for them

to have particular definitions.              Tanner v. Nationwide Mut. Fire

Ins. Co., 289 S.W.3d 828, 831 (Tex. 2009).

       In   Texas,     an   insurer’s   duty    to   defend    and    its    duty    to

indemnify are two distinct and separate duties.                     McGinnes Indus.

Maint. Corp. v. Phoenix Ins. Co., 477 S.W.3d 786, 803 (Tex. 2016).

Under Texas law, an insurer’s duty to indemnify is narrower than

its duty to defend.           Lincoln Gen. Ins. Co. v. Aisha’s Learning

Ctr., 468 F.3d 857, 858 (5th Cir. 2006)(applying Texas law).                        The

duty to indemnify is triggered by the actual facts establishing the

insured’s liability in the underlying litigation.                    Hartford Cas.

Ins.   Co.   v.   DP    Eng’g,   L.L.C.,       827   F.3d    423,    430    (5th    Cir.


                                        12
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2016)(applying Texas law).

B.    Discussion

       The parties are entrenched in their respective positions on

coverage of settlement amounts that constitute disgorgement and

have asked the court to resolve the matter on competing claims for

declaratory relief.39           The court finds that the answer lies in the

principles of contract interpretation and the process of case

exegesis.

       Insuring agreement (A) offered coverage for losses to the

directors that were not indemnifiable by Oceaneering, and insuring

agreement (B) offered coverage for losses to the directors that

were    indemnifiable.           As   applied     to   the    Derivative   Action,

Oceaneering is not permitted to indemnify the directors for damages

owed to Oceaneering itself, as in this case where the underlying

plaintiff is seeking the return of excessive compensation paid by

Oceaneering to the directors.             However, Oceaneering is permitted

and has agreed to indemnify the directors for defense costs.40

Thus,       to   the   extent   there   is     coverage,     the   disgorgement   of

excessive compensation falls under insuring agreement (A) and

defense costs fall under insuring agreement (B).                    Plaintiff does

not dispute its obligation to pay defense costs under insuring



       39
                 This is the only aspect of coverage that is in dispute.
       40
            See Doc. 1, Orig. Compl. for Decl. Relief p. 8; Doc. 16, Defs.’ Ans.,
Defenses, & Countercl. for Declaratory Relief p. 5.

                                          13
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agreement (B) subject to the applicable self-insured retention.41

Thus,      the     court’s   focus    is    on   whether    the   disgorgement   of

compensation is a covered loss under insuring agreement (A).42

      As stated above, the Policy defined “loss” to include damages.

“Damages,” in turn was defined as amounts that the insureds are

legally obligated to pay pursuant to a covered claim including

settlement         amounts   but   not     “amounts   for   matters   uninsurable

pursuant to applicable law.”43             This language is not ambiguous and

can be enforced as written.              See In re TransTexas Gas Corp., 597

F.3d 298, 309 (5th Cir. 2010)(finding language stating that “loss”

shall not include “matters which may be deemed uninsurable under

the law pursuant to which this policy shall be construed” to be

unambigous). The question is whether the disgorgement of excessive

compensation is uninsurable as a matter of Texas law and therefore

not a covered loss.

      The Fifth Circuit answered a similar question under Texas law

in In re TransTexas Gas Corp., 597 F.3d at 298, which provides

binding authority for this court’s analysis.                 That case addressed

a bankruptcy judgment against the company’s prior chief executive


      41
                 See Doc. 24-1, Mem. in Support of Pl.’s Mot. for Summ. J. p. 18.
      42
            Plaintiff also does not dispute its obligation to pay other damages
not in the nature of disgorgement. See id. p. 18 (stating that Plaintiff “has
never taken the position that no part of a settlement could ever be covered” but
contending that only disgorgement is presently in dispute and ripe for the
court’s consideration).
      43
            Doc. 24-2, Ex. A-1 to Pl.’s Mot. for Summ. J., The Hartford D&O
Premier Defense Policy p. 37.

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officer to whom the company paid a severance package after his

resignation.         Id. at 302-03.      The parties had entered into an

employment agreement that allowed severance payments if the officer

was     terminated—$3,000,000       if    terminated    without     cause      and

$1,500,000      if    terminated   for    cause—but    no   severance   if     he

voluntarily resigned.        Id. at 302.      Nevertheless, when the officer

resigned, the company’s board decided to invoke the severance

provision of the contract and paid the officer $2,270,794.90. Id.

In bankruptcy court, the severance payments were held to be

fraudulent transfers, and the officer was ordered to repay the

severance money he had received, plus attorneys’ fees and costs.

Id. at 303.

        The insurance company that issued a D&O liability policy filed

a declaratory judgment action regarding insurance coverage for the

disgorgement of the officer’s severance compensation.                See Nat’l

Union Fire Ins. Co. of Pittsburgh, Pa. v. U.S. Bank, Nat’l Assoc.,

Civil Action No. 4:07-CV-1958, 2008 WL 2405975, at *1 (S.D. Tex.

June 11, 2008)(applying Texas law)(unpublished).                  The coverage

issue was the same as here, whether amounts in the nature of

restitution/disgorgement were damages covered under the policy.

See id. at *4.          The definition of loss in the policy under

consideration explicitly did not include “matters which may be

deemed uninsurable under the law pursuant to which this policy

shall be construed.”        Id. at *2.


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     The district court decided the issue on summary judgment,

holding   that   the    insureds     did   not     carry   their   burden     of

establishing coverage under the policy.               See id. at *5.          In

reaching this conclusion, the district court relied on Nortex Oil

& Gas Corp. v. Harbor Insurance Co., 456 S.W.2d 489 (Tex. Civ.

App.—Dallas 1970, no writ), and Level 3 Communications, Inc. v.

Federal Insurance Co., 272 F.3d 908 (7th Cir. 2001).                 See Nat’l

Union Fire Ins. Co. of Pittsburgh, Pa., 2008 WL 2405975, at **4-5.

     In Nortex Oil & Gas Corp., the state court addressed a similar

coverage issue after the insured had settled a claim that alleged

the insured had “converted property by wrongfully appropriating and

selling oil” that belonged to others. Nat’l Union Fire Ins. Co. of

Pittsburgh, Pa., 2008 WL 2405975, at *4.           Quoting Nortex Oil & Gas

Corp., the district court wrote:

     An insured . . . does not sustain a covered loss by
     restoring to its rightful owners that which the insured,
     having no right thereto, has inadvertently acquired . .
     . . The insurer did not contract to indemnify the insured
     for disgorging that to which it was not entitled in the
     first place, or for being deprived of profits to which it
     was not entitled.

Nat’l Union Fire Ins. Co. of Pittsburgh, Pa., 2008 WL 2405975, at

*4 (quoting Nortex Oil & Gas Corp., 456 S.W.2d at 494).

     In Level 3 Communications, Inc., the Seventh Circuit also

addressed a similar coverage issue after the insured had settled a

claim that alleged securities fraud.          Nat’l Union Fire Ins. Co. of

Pittsburgh,   Pa.,     2008   WL   2405975,   at    *4.    Quoting    Level    3


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Communications, Inc., the district court wrote, “The interpretative

principle for Federal [Insurance Company] contends—that a ‘loss’

within the meaning of an insurance contract does not include the

restoration of an ill-gotten gain—is clearly right.”              Nat’l Union

Fire Ins. Co. of Pittsburgh, Pa., 2008 WL 2405975, at *5 (quoting

Level 3 Comm’ns, Inc., 272 F.3d at 910).

        The district court’s decision was considered by the Fifth

Circuit on appeal.        See In re TransTexas Gas Corp., 597 F.3d at

303. As did the district court, the Fifth Circuit relied on Nortex

Oil & Gas Corp. and Level 3 Communications, Inc., explicitly

agreeing with the interpretation of loss within the meaning of an

insurance contract as not including amounts that are restitutionary

in character.        See In re TransTexas Gas Corp., 597 F.3d at 310.

        As In re TransTexas Gas Corp. and the cases it discussed are

on point, the court relies on its application of Texas insurance

law     and   its   interpretation    of    very   similar   policy   coverage

provisions.         The case before this court involves the potential

settlement of a lawsuit alleging, in part, unjust enrichment

against the directors based on excessive and unfair compensation.

Any settlement amounts directed at repayment of the excessive

compensation is, as the Fifth Circuit found the settlement amount

in In re TranTexas Gas Corp., a “disgorgement of ill-gotten gains

and a restitutionary payment.”             Id.   Thus, the court finds that

those amounts do not constitute a covered loss under the Policy.


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Defendants in this case failed to carry their burden of showing

that disgorgement of the directors’ excessive compensation is

covered by the Policy.44

      Defendants assert that Burks v. XL Specialty Insurance Co.,

NO. 14-14-00740-CV, 2015 WL 6949610, at *1 (Tex. App.—Houston [14th

Dist.] Nov. 10, 2015, no pet.)(unpublished), a Texas intermediate

appellate court decision, requires a different result.                In Burks,

the court was tasked with deciding, among other issues, whether the

claim of a chief financial officer, who settled an action seeking

disgorgement and other damages, was covered by a D&O policy.                See

id. at **1, 8.

      The court found that, because the officer had settled the

claim, “there [was] necessarily a fact issue about whether the

entire settlement amount represented disgorgement of ill-gotten

gains.”    Id. at *8.    The court offered a different interpretation

of Nortex Oil & Gas Corp. from that provided In re TransTexas Gas

Corp.,    disagreeing,     to   the   extent    that    the   Fifth    Circuit

interpreted Nortex Oil & Gas Corp. “as establishing a public policy

in Texas against insuring settlements made in satisfaction of

claims alleging ill-gotten gains.”          See Burks, 2015 WL 6949610, at



      44
            The district court and the Fifth Circuit placed the burden on the
insureds to establish whether the claim in that case fell within the meaning of
“loss” under the insurance policy. See In re TransTexas Gas Corp., 597 F.3d at
311; Nat’l Union Fire Ins. Co. of Pittsburgh, Pa., 2008 WL 2405975, at *5. The
court follows that lead in not reading the language of the damages definition in
the Policy as an exclusion. However, even if the court were to place the burden
on Plaintiff, the court would find that the burden was met.

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*9.     The court found that no Texas court had “held that insuring a

settlement of a claim seeking restitution or disgorgement is

against public policy or otherwise generally ‘uninsurable under the

law’ of Texas; nor has the Legislature enacted any legislation on

point.”     Id.   The court refused to find as a matter of law that the

parties intended to exclude coverage for a settlement such as they

had entered in that case.        Id.   Even so, the court found a genuine

issue of material fact as to whether the settlement was for

disgorgement and reversed the lower court’s grant of summary

judgment and remanded for proceedings consistent with its opinion.

See id. at *10.

        Weeks later, the parties filed a joint motion to dismiss the

appeal as moot because the underlying case had settled.              See Burks

v. XL Specialty Ins. Co., NO. 14-14-00740-CV, 2016 WL 191988, at *1

(Tex. App.—Houston [14th Dist.] Jan. 12, 2016)(unpublished).                   The

court granted the motion to dismiss and vacated its judgment but

did not withdraw its opinion.          See id.   Facing a choice between an

unpublished opinion of a Texas intermediate court of appeals in

which     the   judgment   was   subsequently    vacated   and   a   published

decision in which the Fifth Circuit interpreted Texas law, this

court is bound by the Fifth Circuit’s prediction as to the opinion

of the Supreme Court of Texas.           The court need not and does not

look beyond the applicable, binding, and undisturbed decision in In

re TransTexas Gas Corp. to discuss the many other cases cited by


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the parties that were decided in other jurisdictions.45

      Having decided that Defendants’ claim is not covered by the

Policy, the court need not interpret the Policy any further.

However, the court briefly addresses Defendants’ assertion that the

personal-profit exclusion is an enhancement to coverage.                     The

personal-profit exclusion excluded coverage for damages that were

“based upon, arising from, or in any way related to the gaining of

any personal profit, remuneration or financial advantage” if a

final, nonappealable adjudication established such gain.46

      As noted above, neither an exclusion nor an exception can

create coverage.      See Columbia Cas. Co., 542 F.3d at 112; United

Nat’l Ins. Co., 497 F.3d at 451-52.           In this case, the court does

not reach any exclusion because Defendants failed to establish that

their claim falls within the coverage provisions in the first

instance.    See In re TransTexas Gas Corp., 597 F.3d at 311 n.5 (“In

light of our holding, we need not address the district court’s

alternative [finding] that[,] even if the bankruptcy judgment did

constitute a ‘loss,’ it would fall within the Policy’s ‘profit or

advantage’ exclusion.”).

      That said, the exclusion only applies to “damages,” which is



      45
            Additionally, because the court finds that the Policy and applicable
law relieve Plaintiff of the obligation to pay settlement damages that are in the
nature of disgorgement, the court need not and should not resort to making a
ruling based on public policy.
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            Doc. 24-2, Ex. A-1 to Pl.’s Mot. for Summ. J., The Hartford D&O
Premier Defense Policy pp. 19 , 43.

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defined by the Policy not to include matters that are otherwise

uninsurable.    If otherwise covered and within the definition of

damages, the gaining of personal profit, remuneration, or financial

advantage was to be excluded if the gain was established by a final

adjudication.       The court does not find this interpretation to

render the exclusion meaningless because the provisions are not

coextensive.     The fact that the claim at issue here might be

subject to the exclusion if it were covered does not mean the

exclusion is meaningless.         Conceivably, amounts related to the

gaining of personal profit, remuneration, or financial advantage

could be insurable under applicable law; in which case, they would

fit within the coverage provisions and would be excluded only upon

a final adjudication of such gain.

     Although the court has determined that any settlement amount

that is in the nature of disgorgement is not covered by the Policy,

the court cannot determine at this point what percentage of the

settlement that is.        As is evident from the plaintiff’s original

settlement demand in the Derivative Action, a significant portion

of the amount sought is derived from calculations of the alleged

overpayment    to    the   directors    and,   thus,   in   the   nature    of

disgorgement.    However, the Derivative Action seeks other damages

that may be covered by the Policy.             The Policy addressed the

scenario of a settlement that included damages and amounts that do

not constitute damages, stating that the insureds and Plaintiff


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“agree[d] to use their best efforts to fairly and reasonably

allocate the amount of such settlement or judgment on the basis of

relative legal and financial exposures to the covered Damages and

the non-covered amounts.”47        Allocation is not an issue in this

declaratory action and is necessarily left for another day.

     The court finds that a settlement in the Derivative Action, to

the extent that any portion of it constitutes disgorgement, is

uninsurable as a matter of Texas law and is not covered by the

Policy.

                             IV.   Conclusion

     Based on the foregoing, the court RECOMMENDS that Plaintiff’s

motion is GRANTED and Defendants’ motion is DENIED.              The Clerk

shall send copies of this Memorandum and Recommendation to the

respective parties who have fourteen days from the receipt thereof

to file written objections thereto pursuant to Federal Rule of

Civil Procedure 72(b) and General Order 2002-13.          Failure to file

written objections within the time period mentioned shall bar an

aggrieved party from attacking the factual findings and legal

conclusions on appeal.

     The original of any written objections shall be filed with the

United States District Clerk electronically.              Copies of such

objections shall be mailed to opposing parties and to the chambers



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            Doc. 24-2, Ex. A-1 to Pl.’s Mot. for Summ. J., The Hartford D&O
Premier Defense Policy p. 8.

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of the undersigned, 515 Rusk, Suite 7019, Houston, Texas 77002.

     SIGNED in Houston, Texas, this 28th day of February, 2017.




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                                            U.S. MAGISTRATE JUDGE




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